         Case 2:10-cr-20057-PKH Document 235                              Filed 02/07/12 Page 1 of 6 PageID #: 712
qAO ?458     (Rev. 09/08) Judgmentin a Crirninal Case
             SheetI



                                        UhrrrsnSrnrnsDrsrnrcrCoURT
                      WESTERN                                    District of                               ARKANSAS
         UMTED STATES OF AMERICA                                        JTJDGMENT IN A CRIMINAL CASE
                            v.
               DONALD ANDREWS                                           CaseNumber:                       2;10CR20057-007
                                                                        USM Number:                       10336-010
                                                                        DanielStewart
                                                                        Defendant'sAttomey
TIIE DEFENDANT:
X pleadedguilty to count(s)        One (l) of the Superseding
                                                            Indictmenton September
                                                                                 30, 20I I

D pleadednolo contendereto count(s)
  which was acceptedby the court.
D was foundguilty on count(s)
  after a pleaof not guilty.

                          guilty of theseoffenses:
The defendantis adjudicated

Title & Section                 Nature of Offense                                                         Off'enseEnded     Count

2l U.S.C.$ 8al(aXl)             Conspiracyto Distribute More than 50 Gramsof a Mixture or                   L0t2It20r0
                                SubstanceContainingMethamphetamine



      The defendantis sentenced
                              as providedin pages? through              of thisjudgment. The sentenceis imposedwithin the
statutoryrangeandtheU.S. SentencingGuidelineswereconsideredas advisory.

! The defendanthasbeenfound not guilty on count(s)

! Count(s)                                              !   is   !   are dismissedon the motion of the United States.

         It is orderedthatthedefendantmustnotify theUnitedStatesattomeyfor thisdisrrictwithin 30 davsof anv chanseof name,residence,
or mailing.address until.allfines,restitutio_n,.costs,                        by thisjudgmentarefully paid.'If ordEredto payrestitution,
                                                  hndspecialassessments,i4posed
the defenllantmust notify the court and United Statesaltomey of materialchangesih econonilccircumstadcbs.

                                                                        Februarv
                                                                               7.2012
                                                                        Date of Imposition of Jrrdgment



                                                                        /S/ Robert T. Dawson
                                                                        Signatureof Judge




                                                                        HonorableRobenT. Dawson.SeniorUnited StatesDistrict Judse
                                                                        Name and Titlc of Judge



                                                                        Februarv
                                                                               7,2012
               Case 2:10-cr-20057-PKH Document 235                            Filed 02/07/12 Page 2 of 6 PageID #: 713
AO 2458        (Rev, 09/08) Judgmentin Criminal Case
               Shcet2 - Imprisonrnent

                                                                                                        Judqment-   Pase   2     of   6
DEFENDANT:                       DONALD ANDREWS
CASENUMBER:                      2;10CR20057-007


                                                                  IMPRISONMENT

        The defendantis herebycornmittedto the custodyof the United StatesBureauof Prisonsto be imprisonedfor a
total term of:    sixty (60) months.




 X        The courl makesthe following recommendationsto the Bureauof Prisons:
          Evaluation for RDAP or other available drug treatment program.




 X        The defendantis remandedto the custodyof the United StatesMarshal.

 tr       The defendantshallsurenderto the United StatesMarshalfor this district:

          ! a t                                        !   a.m.    I   p.m.    on

          tr     asnotifiedby theUnitedStatesMarshal.

      Thedefendant          for serviceof sentence
                shallsurrender                   at theinstitutiondesignated
                                                                           by theBureauof Prisons:
                 before I p.m. on

          n      as notified by the United StatesMarshal.

          n     as notified by the Probationor Pretrial ServicesOffice.



                                                                       RETURN
I haveexecutedthisjudgmentas follows:




      Det'endantdeliveredon

                                                           with a cenifiedcopy of thisjudgment.



                                                                                                     UNITED STATES MARSHAL



                                                                              By
                                                                                                  DEPUTY UNITED STATES MARSHAL
             Case 2:10-cr-20057-PKH Document 235                         Filed 02/07/12 Page 3 of 6 PageID #: 714

AO 2458       (Rev.09i08)Judgmontin a Criminal Case
              Shect3 - SupervisedRelease

                                                                                                     Judgment-Page      3     of
DEFENDANT:                    DONALD ANDREWS
CASENUMBER:                   2:10CR20057-007
                                             SUPERVISED RELEASE
Upon releasefrom imprisonment,
                            the defendantshallbe on supervised
                                                             releasefor a term of:                 five (S) years



       The defendantmustrepoftto the probationofTicein the district to which the defendantis releasedwithin 72 hoursof releasefrom the
custodyof the Bureauof Prisoris.
The defendantshall not commit anotherfederal.stateor local crime.
The defendantshaUnot unlaw-fullyposse$s
                                      a cgntrolledsubstance.The defendantshallrefrainfrom any unlawful useofa controlled
substance.The defendantshallsubmitto one drug testwithin l5 daysof releasefrom imprisonm;ntilil ;i-ieasltw;bdrioaii"I?"!'iJsts
thereafter,as determinedby the court.
n        TF  lUgft
         tuture    if"g testing
                substance
                               cordition is suspended,
                         ahuse, (Checl+
                                                      basedon the court'sdetermination
                                                                                     that the defendantposesa low risk of
                                      if applicable.)

X        The defendantshall not possessa firearm, ammunition,destructivedevice,or any other dangerousweapon. (Check,
                                                                                                                  {appticabte.)
X        The defendantshall cooperatein the collection of DNA as directedby the probationofficer. (hectr,tf appticabte.)

l-t      The-defendant  shallcgmplywjlh the requirements   of the SexOffenderReeistrationandNotificationAct (42 U.S.C.6 16901.et sea.l     '
         as dtrectedby the probationofticer, the Bureauof Prisons,or any statesex=offender  registrationagencyiri which he dr sheresides,'
         works, rs a student,or was convictedof a qualiffing offense. (Check.
                                                                            if applicable.)

!        The defendantshall participatein an approvedprogramfor domesticviolence. (check,
                                                                                       rfappticabte)
       If thisjudgmentimpo;gqa.fineor restitution,it is a conditionof supervisedreleasethat the defendantpay in accordance
                                                                                                                         with the
scneoureor Haymentssneetot thrsJudgment.
         Thedefendantmustcomplywith thestandardconditionsthathavebeenadoptedby this courtaswell aswith anyadditionalconditions
on the attachedpage.

                                        STANDARDCONDITIONSOF SUPERVISION
    l)    the defendantshallnot leavethejudicial districtwithoutthe permissionof the courtor probationofficer;
    2)    the defendantshall reportto the probationofficer in a mannerand frequencydirectedby the court or probationoflicer.
    3)    the defendantshallanswertruthfully all inquiriesby the probationofficer and follow the instructionsofthe probationoflicer;
    4)    the defendantshallsupporthis or her dependents
                                                       andmeetotherfamily responsibilities;
    5)    the defendantshall work regularlyat a lawful occupation,unlessexcusedby the probationofficer for schooling,training,or other
          acceptablereasens;
    6)    the defendantshallnotify the probationofficer at leastten daysprior to any changein residenceor employment;
    7)    the defendantshallrefrainfrom excessiveuseofalcohol and shallnot purchase.Dossess.use.distribute.or administeranv
                                                                                                                        ----
          controlledsubstanceor any paraphernalia
                                                relatedto any controlledsubltances,
                                                                                  ,licept aJpreiciibedbt i phtsician;
    8)    the defendantshallnot frequentplaceswherecontrolledsubstances
                                                                      are illegally sold,used,distributed,or administered;
    e) the defendantshallnot associatewith,anypersonsengagedincriminal activityandshallnot associatewith any personconvictedof a
          felony,unlessgrantedpermissionto do so'bythe pro6aTion
                                                               officer;
 l 0 ) !!._9:[-liglt shallpermila probation.officer.to
                                                     visit him or her at anytime at homeor elsewhereandshallpermitconfiscationof any
       conlraDano   oDserveoln ptatnvlew ot the probatton   otllcer;
 I t ) thedefendantshallnotifu the probationofficerwithin seventy-twohoursofbeing arrestedor questionedby a law enforcement
                                                                                                                         officer;
 l 2 ) the defendan!shall not enter into any agreementto act as an informer or a special agentofa law enforcementagencywithout the
          permissionof the court;and

 l 3 ) asdirectedby the probationofficer,the defendantshallnotifuthird partiesofrisks that may be occasionedbv the defendant'scriminal
          rec.ordor.personal.history.or characteristicsand shall penirit the probation officer to make such notificdtions and to confirm the
          oerenqanlScomptlancewltn sucnnotltlcattonrequlrement.
          Case 2:10-cr-20057-PKH Document 235            Filed 02/07/12 Page 4 of 6 PageID #: 715

AO 2458     (Rev. 09/08) Judgmentin a Criminal Case
            Sheet3C - SupervisedRelease

                                                                            Judgment-Page _*l_   of
DEFENDANT:                 DONALD ANDREWS
CASENUMBER:                2;10CR20057-007

                                         SPECIAL CONDITIONS OF SUPERVISION

          1. The defendantshallcooperatewith any searchby the probationoffice of his person,residence,
          workplace,_or.
                       v-ehicleconductedin a reaionablemannerbasedon rea$onablesui.spicion   of
          evidenceof violation of a condition of supervisedrelease.
          2. The defendantshall comply with any referralby the Drobationoffice for inoatientor
          outpatienttestingor treatmanlrelatedto alcoholor subitanceabuse,including urinalysis
          tor testlngpurposes.
          Case 2:10-cr-20057-PKH Document 235                                       Filed 02/07/12 Page 5 of 6 PageID #: 716

AO 2458   (Rev. 09/08) Judgmentin a Crininal Case
          Sheet5 - Criminal Monetarv Penalties
                                                                                                        Judsment-   Itase      5     of      6
DEFENDANT:                       DONALD ANDREWS
CASENTJMBER:                     2:10CR20057-007
                                             CRIMINAL MONETARYPENALTIES
     The defendantmustpay the total criminal monetarypenaltiesunderthe scheduleof paymentson Sheet6.

                   Assessment                                                  Fine                           Restitution
TOTALS           $ 100.00                                                 s 1,000.00                        $ -0-


tr   The determinationof restitutionis deferred                               An Amended Judgment in a Criminal Case(AO 245C) will be
     after suchdetermination.

tr   The defendantmustmakerestitution(includingcommunityrestitution)to the following payeesin the amountlistedbelow.

     If the defendantmakesa Dartialuavment.eachnaveeshall receivean aonroximatelvproportionedDavment.unlesssnecified
     otherwisein thepriority drderor pe.ircentage
                                               payin6ntcolumnbelow. H<iri,ever,
                                                                             pursirainttb l8 U.S.C. $ 100+1i;,all noirf'ederal
     victimsmustbe paidbeforethe United Statesis paid.

Name of Pavee                                Total Loss*                              Restitution Ordered                   Priority or Percentase




TOTALS


!     Restitutionamountorderedpursuantto plea

tr   The defendantmust pay intereston restitutionand a fine of more than $2,500,unlessthe restitution or fine is paid in full beforethe
     fifteenthday afterthe dateof thejudgment,pursuantto l8 U.S.C.$ 3612(0. All of the paymentoptionson Sheet6 may be subject
     to penaltiesfor delinquencyand default,pursuantto l8 U.S.C.$ 3612(g).

X    The court determinedthat the defendantdoesnot havethe ability to pay interestand it is orderedthat:

     X    the interestrequirementis waivedfor the              X       fine    tr   restitution.

     n    the interestrequirementfor the            n   fine       !     restitutionis modifiedasfollows:

                                                      109A,ll0, ll0A,and ll3AofTitle lSforoffensescommittedonorafter
!FindingsfolthqlotafamountoflossesarerequiredunderChapters
Septemb*er
         13, 1994,but beforeApril 23, 1996.
           Case 2:10-cr-20057-PKH Document 235                             Filed 02/07/12 Page 6 of 6 PageID #: 717

AO 2458    (Rev. 09/08) Judgmentin a Criminal Case
           Sheet6 - Scheduleof Pavments

                                                                                                        Judgment*Page    -',1[-    of   4
DEFENDANT:                  DONALD ANDREWS
CASENUMBER:                 2:10CR20057-007

                                                     SCHEDULEOF PAYMENTS
             thedefendant'sability to pay,paymentof the total criminalmonetarypenaltiesaredue as follows:
Havingassessed

A     X    Lumpsumpaymentof $               100.00          due immediately,balancedue

           !     not later than                                  ,or
           X     in accordance I             C, n D,        n     E, or     X F below; or
B     tr   Paymentto beginimmediately(may be combinedwirh                 ! C,      I D, or      E F below);or

C     tr   Paymentin equal                    (e.g.,weekly,monthly,quilterly) installmentsof $                    over a period of
                          (e.g.,monthsor years),to commence            - (e.g.,30 or 60 days)after the dateof thisjudgment;or

D     il   Paymentin equal                   (e.g.,weekly,monthly,quarterly)installmentsof g                     over a period of
                        (e.g., monthsor years),to commence           - (e.g., 30 or 60 days) after releasefrom imprisonment  to a
           term of supervision;or

E     tr   Paymentduring the term of supervisedreleasewill commencewithin               (e.g.,30 or 60 days) atter releasefrom
           imprisonment.The court will set the paymentplan basedon an assessment
                                                                              of the defendant'sability to pay at that time; or

F    X     Specialinstructionsregardingthe paymentof criminal monetarypenalties;
           If not paidimmediately.
                                 any unpaidfinancialpenaltyimnosedshallbe uaiddurinstheueriodof incarceration     at a rateof not less
           than$25.00quarterly.br l0% of the defendanl'squanerlvearninss.wliicheveris*sreat'er.After incarceration.anv unoaidfinancial
           penaltyshallbecomea specialconditionof superviscd  releaseandriravbe naid in-monthlvinstallments of not'lessthah l0o/oof the
           ilefendant'snetmonthlyho.usehqldincome,.but in no caselessthan$ 100.00per month,r,iith the entirebalanceto be paid in full one
           monthpriorto thetermlnationof superuisedrelease.


UnlessthecourthasexDressly  orderedotherwise,if this iudgmentimpo$esimDrisonment.
                                                                               Davment of criminalmonetarvnenaltiesis duedurins
imprisonment._Allcriminal monetarypenalties,_excEpt-ihose   pajrmentsrhadethroughfhe FederalBureauof Pri-s<jns'Inmate  Financia"l
Reiponsibility Program,are madeto the clerk of the coirrt.

The defendantshall receivecredit fbr all paymentspreviously madetoward any criminal monetarypenaltiesimposed.




!    Jointand Several

     Defendantand Co-DefendantNamesand CaseNumbers(including defendantnumber),Total Amount, Joint and SeveralAmount,
     and conespondingpayee,if appropriate.




n The defendantshallpay the costof prosecution.
n The defendantshallpay thefollowing courtcost(sl:
n The defendantshallforfeit the defendant'sinterestin the followingpropertyto the UnitedStatesl


Paymentsshallbe applied    in the following order:(I) assessment,
                      ^cbmmunity                                      (2) restitutionprincipal,(3) restitutioninterest,(4) fine principal,
(5) fine interest,(6)            restitution*,(7) perialties,and (8)'cbdts,including cost bf frroiecutionand courr cbiti.
